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 5
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 6

 7   Attorney for the Plaintiff

 8                       UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA
 9                                   -oOo-
10
     UNITED STATES OF AMERICA,                          2:15-cr-00014-APG-VCF
11
                            Plaintiff,                  GOVERNMENT’S MOTION TO
12                                                      STRIKE, OR ALTERNATIVELY
                 vs.                                    DENY, DEFENDANTS FILING
13                                                      TITLED “JUDICIAL NOTICE
     OMAR QAZI,                                         OF BAD BEHAVIOUR” (ECF No.
14                                                      401)
                            Defendant.
15
           The United States of America, by and through DAYLE ELIESON, United States
16
     Attorney, and CRISTINA D. SILVA, Assistant United States Attorney, and files this
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     motion to strike, or in the alternative motion to deny, Defendant’s filing titled “Judicial
18
     Notice of Bad Behaviour” (ECF No. 401), that was filed by the Defendant on February
19
     23, 2018. For the reasons set forth herein, the United States respectfully requests that
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     the Court either strike the filing, or in the alternative, deny his request for the Court
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22   to take judicial notice of the arguments contained within the filing.

23                                   Points and Authorities

24         As a threshold matter, the United States respectfully requests that this motion



                                                 1
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 1   be stricken because the format of the first page of the document is improper. In

 2   repeated filings, 1 the Defendant lists the United States as the “persecutor” and himself

 3   as the “accused.” Defendant’s incorrect identification of the parties is a violation of

 4   local rule IA 10-2, which states that the first page of every document identify the name

     of the plaintiff and defendant as follows:
 5

 6
                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 7
       Name(s) of plaintiff(s),                                        Case Number
 8
                                                            [Example: 2:16-CV-115-HDM-RAM]
                Plaintiff(s)
 9
                                                                       Document Title
       v.                                                [Example: Defendant Richard Roe’s Motion in
10
                                                             Limine to Exclude Expert Testimony]
       Name(s) of defendant(s),
11
                Defendant(s)
12

13
     See LR IA 10-2 (emphasis added). The local rules do not allow for parties to be
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     identified by improper, vexatious titles, but rather by the formal titles of “plaintiff” or
15
     “defendant.” Defendant’s status as a pro se litigant does not free him of the
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     responsibility to follow the law and the rules. See King v. Atiyeh, 814 F.2d 565, 567 (9th
17
     Cir.1987) (holding pro se litigants are bound by the rules of procedure). Accordingly,
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     the United States that this document be stricken for violating the local rules. 2
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            The document should also be stricken, or if construed as a motion it should be
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     denied because is improperly asks this Court to take judicial notice of conclusory
21

22
            1       See ECF No. 373, 374, 378, 381, 398, 399. The Government notes that not all of
23   Defendant’s filing have this improper caption. Compare ECF No. 257 and 290.
             2      The United States will be filing a separate motion seeking a standing order to
24   strike all future filings where the parties are improperly identified in violation of the local
     rules.


                                                     2
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 1   assertions by the Defendant. “Judicial notice” is a court’s recognition of the existence of

 2   a fact without the necessity of formal proof. See Castillo–Villagra v. I.N.S., 972 F.2d

 3   1017, 1026 (9th Cir. 1992). Rule 201 of the Federal Rules of Criminal Procedure

 4   governs judicial notice. That rule provides, in relevant part, that the scope of judicial

     notice governs an adjudicative fact only, not a legislative fact. Fed.R.Crim.Pro. 201(a).
 5

 6
     In order for a Court to take judicial notice of a fact, the fact must not be subject to
 7
     reasonable dispute because it is generally known within the trial court’s jurisdiction, or
 8
     can be accurately and readily determined from sources whose accuracy cannot be
 9
     reasonably questioned. Fed.R.Crim.Pro. 201(b)(1) and (2). Examples of facts a court
10
     has taken judicial notice of include matters of public record, see Mack v. South Bay
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     Beer Distrib., 798 F.2d 1219, 1282 (9th Cir. 1995), “records and reports of
12
     administrative bodies,” Interstate Nat. Gas Co. v. S. Cal. Gas Co., 209 F.2d 380, 385
13
     (9th Cir.1953), facts relevant to a constitutional question, see Rothe Development Corp.
14
     v. Department of Defense, 545 F.3d 1023, 1045–1046 (C.A.Fed. 2008) (judicially noticing
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     facts relevant to equal protection challenge), or well known or easily established facts,
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     such firmly established scientific laws, see generally Daubert v. Merrell Dow Pham.,
17
     Inc., 509 U.S. 579, 592 n.11 (1993), and well-known medical facts, see Barnes v. Indep.
18

19   Auto. Dealers Ass'n of Cal. Health & Welfare Benefit Plan, 64 F.3d 1389, 1395 (9th Cir.

20   1995).

21            The Defendant facts the Defendant asks this Court to take judicial notice of are

22   not similar to the aforementioned examples. Instead, Defendant asks this Court to take

23   judicial notice of conclusory, and at times accusatory, arguments about the

24   voluntariness of his post-Miranda statement, his belief that the Miranda warnings he


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 1   received were insufficient, 3 and baseless claims of undefined “bad behaviour” by the

 2   judges in this District. The fact that the Defendant has to make arguments in an

 3   attempt to support his request for judicial notice demonstrates that the subject matter

 4   of Defendant’s request are reasonably disputed and questioned, and therefore improper

     for judicial noticing.
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            For the reasons set forth above, the United States respectfully requests that the
 7
     Court either strike Defendant’s filing titled “Judicial Notice of Bad Behaviour” (ECF
 8
     No. 401), or if the filing is construed as a motion, deny the relief requested therein.
 9

10          Dated 2nd day of March, 2018.

11                                                         Respectfully submitted,

12                                                         DAYLE ELIESON
                                                           United States Attorney
13
                                                            /s/ Cristina D. Silva
14                                                         CRISTINA D. SILVA
                                                           Assistant United States Attorney
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            3     The Ninth Circuit recently rejected this precise argument and found his
24   Miranda warnings were, in fact, sufficient. See ECF No. 402 (Memorandum from Ninth Circuit
     Court of Appeals).


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 1                              CERTIFICATE OF SERVICE

 2         The undersigned hereby certified that a copy of this filing was sent to Defendant

 3   Qazi via United States mail addressed to:

 4   Mr. Omar Qazi #49760048
     NSDC 2190 East Mesquite Avenue
     Pahrump, Nevada, 89060
 5

 6
     and on stand-by counsel Telia Williams, Esq., via electronic service by ECF, on March
 7   2, 2018.

 8
     DATED:      March 2, 2018.
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10                                                       /s/ Cristina D. Silva
11                                                      CRISTINA D. SILVA
                                                        Assistant United States Attorney
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